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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 ARIANE D. GRANT,                    )
                                     )
       Plaintiff,                    )
                                     )     Case No. 2:20-cv-02305-TLP-atc
 v.                                  )
                                     )
 BLUES CITY BRWERY, LLC              )
 a Domestic Corporation,             )
                                     )
       Defendant.                    )
 _____________________________________________________________________________

                    DEFENDANT’S PROPOSED JURY INSTRUCTIONS


        Defendant, Blues City Brewery, LLC (“Blues City” or the “Company”), submits the

 following proposed jury instructions:
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                                     STATEMENT OF CASE

        The plaintiff in this action, Ariane Grant, alleges that she was discriminated against based

 on her sex (female) in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”) when she

 was suspended for three (3) days, and subsequently terminated from Blues City for making a false

 allegation against a co-worker.

        Blues City denies that the Plaintiff was discriminated against based on her sex. Blues City

 asserts that there is no evidence that the Plaintiff was treated any differently because she is a

 female. Accordingly, Blues City contends that the Plaintiff’s sex discrimination claim fails.




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                          ALL PERSONS EQUAL BEFORE THE LAW

        You should consider and decide this case as a dispute between persons of equal standing

 in the community of equal worth, and holding the same or similar stations in life. A corporation is

 entitled to the same fair trial as a private individual. All persons, including corporations stand equal

 before the law, and are to be treated as equals.



        Authority: O’Malley, Grenig & Lee, Federal Jury Practice and Instructions -- Civil, Vol.

 3 § 103.12 (5th ed. 2000).




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                                         JURORS’ DUTIES

        You have two main duties as jurors. The first one is to decide what the facts are from the

 evidence that you saw and heard here in Court. Deciding what the facts are is your job, not mine,

 and nothing that I have said or done during this trial was meant to influence your decision about

 the facts in any way. Your second duty is to take the law that I give you, apply it to the facts, and

 decide if the Plaintiff proved that Blues City is liable by a preponderance of the evidence. It is my

 job to instruct you about the law, and you are bound by the oath that you took at the beginning of

 the trial to follow the instructions that I give you, even if you personally disagree with them. This

 includes the instructions that I gave you before and during the trial, and these instructions. All the

 instructions are important, and you should consider them together as a whole. The lawyers have

 talked about the law during their arguments. But if what they said is different from what I say, you

 must follow what I say. What I say about the law controls. Perform these duties fairly. Do not let

 any bias, sympathy or prejudice that you may feel toward one side or the other influence your

 decision in any way.



        Authority: Sixth Circuit Pattern Jury Instructions § 1.02.




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                                      EVIDENCE DEFINED

        You must make your decision based only on the evidence that you saw and heard here in

 Court. Do not let rumors, suspicions, or anything else that you may have seen or heard outside of

 Court influence your decision in any way. The evidence in this case includes only what the

 witnesses said while they were testifying under oath; the exhibits that I allowed into evidence; and

 the stipulations to which the lawyers agreed. Nothing else is evidence. The lawyers’ statements

 and arguments are not evidence. Their questions and objections are not evidence. My legal rulings

 are not evidence. And my comments and questions are not evidence. During the trial I did not let

 you hear the answers to some of the questions that the lawyers asked. I also ruled that you could

 not see some of the exhibits that the lawyers wanted you to see. And sometimes I ordered you to

 disregard things that you saw or heard, or I struck things from the record. You must completely

 ignore all of these things. Do not even think about them. Do not speculate about what a witness

 might have said or what an exhibit might have shown. These things are not evidence, and you are

 bound by your oath not to let them influence your decision in any way. Make your decision based

 only on the evidence, as I have defined it here, and nothing else.



        Authority: Sixth Circuit Pattern Jury Instructions § 1.04.




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                              CONSIDERATION OF EVIDENCE

        You should use your common sense in weighing the evidence. Consider it in light of your

 everyday experience with people and events, and give it whatever weight you believe it deserves.

 If your experience tells you that certain evidence reasonably leads to a conclusion, you are free to

 reach that conclusion.



        Authority: Sixth Circuit Pattern Jury Instructions § 1.05.




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                       DIRECT AND CIRCUMSTANTIAL EVIDENCE

        Now, some of you may have heard the terms “direct evidence” and “circumstantial

 evidence.” Direct evidence is simply evidence like the testimony of an eyewitness which, if you

 believe it, directly proves a fact. If a witness testified that he saw it raining outside, and you

 believed him, that would be direct evidence that it was raining. Circumstantial evidence is simply

 a chain of circumstances that indirectly proves a fact. If someone walked into the courtroom

 wearing a raincoat covered with drops of water and carrying a wet umbrella, that would be

 circumstantial evidence from which you could conclude that it was raining. It is your job to decide

 how much weight to give the direct and circumstantial evidence. The law makes no distinction

 between the weight that you should give to either one, or say that one is any better evidence than

 the other. You should consider all the evidence, both direct and circumstantial, and give it whatever

 weight you believe it deserves.



        Authority: Sixth Circuit Pattern Jury Instructions § 1.06.




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                                CREDIBILITY OF WITNESSES

         You are the sole and exclusive judges of the credibility or believability of the witnesses

 who have testified in this case. You must decide which witnesses you believe and how important

 you think their testimony is. You are not required to accept or reject everything a witness says.

 You are free to believe all, none, or part of any person’s testimony.

         In deciding which testimony you believe, you should rely on your own common sense and

 everyday experience. There is no fixed set of rules to use in deciding whether you believe a

 witness, but it may help you to think about the following questions:

     1. Was the witness able to see, hear, or be aware of the things about which the witness

 testified?

     2. How well was the witness able to recall and describe those things?

     3. How long was the witness watching or listening?

     4. Was the witness distracted in any way?

     5. Did the witness have a good memory?

     6. How did the witness look and act while testifying?

     7. Was the witness making an honest effort to tell the truth, or did the witness evade

 questions?

     8. Did the witness have any interest in the outcome of the case?

     9. Did the witness have any motive, bias or prejudice that would influence the witness’

 testimony?

     10. How reasonable was the witness’ testimony when you consider all of the evidence in the

 case?




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    11. Was the witness’ testimony contradicted by what that witness has said or done at another

 time, by the testimony of other witnesses, or by other evidence?

    12. Has there been evidence regarding the witness’ intelligence, respectability, or reputation

 for truthfulness?

    13. Did the witness admit that any part of the witness’ testimony was not true?



    Authority: Tennessee Pattern Jury Instructions (“TPI”) – Civil § 2.20




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                                 DISCREPANCIES IN TESTIMONY

        You are the sole judges of the credibility of the witnesses and the weight their testimony

 deserves. You may be guided by the appearance and conduct of the witness, or by the manner in

 which the witness testifies, or by the character of the testimony given, or by evidence contrary to

 the testimony. You should carefully examine all the testimony given, the circumstances under

 which each witness has testified, and every matter in evidence tending to show whether a witness

 is worthy of belief. Consider each witness’ intelligence, motive and state of mind, and demeanor

 or manner while testifying. Consider the witness’ ability to observe the matters as to which the

 witness has testified, and whether the witness impresses you as having an accurate recollection of

 these matters. Also, consider any relation each witness may have with either side of the case, the

 manner in which each witness might be affected by the verdict, and the extent to which the

 testimony of each witness is either supported or contradicted by other evidence in the case.

 Inconsistencies or discrepancies in the testimony of a witness, or between the testimonies of

 different witnesses, may or may not cause you to discredit such testimony. Two or more persons

 seeing an event may see or hear it differently. In weighing the effect of a discrepancy, always

 consider whether it pertains to a matter of importance or an unimportant detail, and whether the

 discrepancy results from innocent error or intentional falsehood. After making your own judgment,

 you will give the testimony of each witness such weight, if any, that you may think it deserves. In

 short, you may accept or reject the testimony of any witness, in whole or in part.

        In addition, the weight of the evidence is not necessarily determined by the number of

 witnesses testifying to the existence or nonexistence of any fact. You may find that the testimony

 of a small number of witnesses as to any fact is more credible than the testimony of a larger number

 of witnesses to the contrary.

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        Authority: O’Malley, Grenig & Lee, Federal Jury Practice and Instructions – Civil, Vol.

 3 § 105.01 (5th ed. 2000).




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           IMPEACHMENT – INCONSISTENT STATEMENTS OR CONDUCT

        A witness may be discredited or impeached by contradictory evidence or by evidence that

 at some other time the witness has said or done something, or has failed to say or do something

 that is inconsistent with the witness’ present testimony. If you believe any witness has been

 impeached and thus discredited, you may give the testimony of that witness such credibility, if

 any, you think it deserves. If a witness is shown knowingly to have testified falsely about any

 material matter, you have a right to distrust such witness’ other testimony and you may reject all

 the testimony of that witness or give it such credibility as you may think it deserves. An act or

 omission is “knowingly” done, if voluntarily and intentionally, and not because of mistake or

 accident or other innocent reason.



        Authority: O’Malley, Grenig & Lee, Federal Jury Practice and Instructions – Civil, Vol.

 3 § 105.04 (5th ed. 2000).




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                                    LAWYERS’ OBJECTIONS

          There is one more general subject that I want to talk to you about before I begin explaining

 the substantive elements of the Plaintiff’s claims and Blues City’s defenses. The lawyers for both

 sides objected to some of the things that were said or done during the trial. Do not hold that against

 either side. The lawyers have a duty to object whenever they think that something is not permitted

 by the rules of evidence. Those rules are designed to make sure that both sides receive a fair trial.

 And do not interpret my rulings on their objections as any indication of how I think the case should

 be decided. My rulings were based on the rules of evidence, not on how I feel about the case.

 Remember that your decision must be based only on the evidence that you saw and heard here in

 Court.



          Authority: Sixth Circuit Pattern Jury Instructions § 1.09




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                BURDEN OF PROOF – PREPONDERANCE OF EVIDENCE

        In this action, the Plaintiff has the burden of establishing by a preponderance of the

 evidence all of the facts necessary to prove that Blues City suspended and subsequently terminated

 her because she is a female.

        The term “preponderance of the evidence” means that amount of evidence that causes you

 to conclude that an allegation is probably true. To prove an allegation by a preponderance of the

 evidence, a party must convince you that the allegation is more likely true than not true. If the

 evidence on a particular issue is equally balanced, that issue has not been proven by a

 preponderance of the evidence and the party having the burden of proving that issue has failed.

 You must consider all the evidence on each issue.



        Authority: TPI – Civil § 2.40 (modified)




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           TITLE VII DISCRIMINATION – PLAINTIFF’S PRIMA FACIE CASE

        Plaintiff claims that Blues City discriminated against her based on her gender.

        To establish a prima facie case of unlawful gender discrimination under Title VII, the

 Plaintiff must prove, by a preponderance of the evidence, each one of the following elements:

        (1) That the Plaintiff is a member of a protected category;

        (2) That the Plaintiff was qualified for the position;

        (3) That she was subjected to an adverse employment action; and

        (4) That her employer treated similarly-situated persons outside her protected class more

 favorably.

        If you find that the Plaintiff has failed to prove any one of the elements set out in these

 instructions, then you must find for Blues City. If you find that the Plaintiff has proven each of the

 elements by a preponderance of the evidence, then you must next decide whether Blues City has

 articulated a legitimate, non-discriminatory reason for the treatment of the Plaintiff.



        Authority: Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133 (2000); McDonnell

 Douglas Corp. v. Green, 411 U.S. 792, 802 (1973); Texas Dep’t of Community Affairs v. Burdine,

 450 U.S. 248, 256 (1981); Mitchell v. Toledo Hosp., 964 F.2d 577, 582 (6th Cir. 1992); Boyd v.

 Harding Academy, 88 F.3d 410 (6th Cir. 1996).




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          TITLE VII DISCRIMINATION – SIMILARLY-SITUATED EMPLOYEES

          In order for the Plaintiff to establish a prima facie case of gender discrimination, she must

 prove that Blues City treated similarly-situated employees not in her protected class - i.e., male

 employees - more favorably than it treated her. In order to make a comparison of her treatment to

 the treatment of an employee not in her protected class, the Plaintiff must show that the comparable

 employee was similarly-situated in all respects. Thus, to be deemed “similarly-situated,” the

 individual with whom the Plaintiff compares herself must have dealt with the same supervisor,

 have been subject to the same standards, and have engaged in the same conduct without such

 differentiating or mitigating circumstances that would distinguish her conduct or her employer’s

 treatment of her for it.

          In this case, the Plaintiff claims that Pierre Davis and Terrence Fennell were “similarly-

 situated” employees outside her protected class who were treated more favorably. If you find that

 Davis and Fennell were not similarly-situated to the Plaintiff or that they were not treated more

 favorably than the Plaintiff, you must find for the Blues City on Plaintiff’s Title VII discrimination

 claim.



          Authority: Mitchell v. Toledo Hosp., 964 F.2d 577, 583 (6th Cir. 1992).




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          TITLE VII DISCRIMINATION – DEFENDANT’S LEGITIMATE NON-
                          DISCRIMINATORY REASON

        If, and only if, you first determine that the Plaintiff has established a prima facie case of

 unlawful discrimination by a preponderance of the evidence, Blues City then has the burden of

 articulating a legitimate, non-discriminatory reason for its actions. You must consider any

 legitimate, non-discriminatory reason or explanation stated by the Defendant for its decisions.

        A legitimate, non-discriminatory reason is any reason or explanation unrelated to the

 Plaintiff’s gender. In considering the legitimate, non-discriminatory reason stated by Blues City

 for its decisions, you are not to second-guess the correctness of that decision or to otherwise

 substitute your judgment for that of Blues City.

        In this case, the Plaintiff bears the ultimate burden of persuading the jury that Blues City

 intentionally discriminated against her because of her gender. The Defendant is, therefore, not

 required to prove that its decisions were actually motivated by the stated legitimate, non-

 discriminatory reason. Nor must the Defendant prove the absence of a discriminatory motive.

 Rather, once the Defendant has produced evidence of any legitimate reason, the Plaintiff must

 prove that the reason was a pretext for discrimination.



        Authority: American Bar Association, MODEL JURY INSTRUCTIONS FOR

 EMPLOYMENT LITIGATION, § 1.02 [3][a][b]; McDonnell Douglass Corp. v. Green, 411 U.S.

 792 (1973); Texas Dep’t of Community Affairs v. Burdine, 450 U.S. 248 (1981); St. Mary’s Honor

 Center v. Hicks, 509 U.S. 502 (1993); Griggs v. Duke Power Co., 401 U.S. 424 (1971).




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                                     BUSINESS JUDGMENT

        When deciding Plaintiff’s discrimination claim, you must keep in mind that an employer

 is entitled to make business decisions for any reason, whether good or bad, so long as those

 decisions are not motivated by a factor that is illegal, such as discrimination. Accordingly, Blues

 City is entitled to make its own subjective personnel decisions, regardless of whether or not you

 agree with the decision, and can make a decision about suspending or terminating an employee for

 any reason that is not discriminatory. It is not your function as jurors to second-guess the decision

 Blues City made with regard to the Plaintiff if that decision was otherwise lawful. Likewise, you

 may not find for the Plaintiff and against Blues City just because you may disagree with Blues

 City’s stated reasons for suspending or terminating the Plaintiff, or because you believe that the

 decision was harsh or unreasonable. Instead, your function is to determine only whether in making

 its decision to suspend and subsequently terminate the Plaintiff, Blues City broke the law by

 permitting her gender to be the determining factor in that decision.



        Authority: McNamara & Southerland, Federal Employment Jury Instructions (2005),

 §3:361, §2:540; Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 259 (1981); Furnco

 Constr. Corp. v. Waters, 438 U.S. 567, 576 (1978); Norbuta v. Loctite Corp., 1 F. App’x 305, 314

 (6th Cir. 2001); Walker v. AT&T Technologies, 995 F.2d 846, 849 (8th Cir. 1993).




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                                EMPLOYER’S HONEST BELIEF

        Plaintiff’s disagreement with Defendant’s honest belief of what happened does not create

 evidence of discrimination. Under the honest belief rule, as long as an employer holds an honest

 belief in its proffered non-discriminatory reason for discharging an employee, the employee cannot

 establish that the reason was pretextual even if it is ultimately shown to be incorrect. An employer

 is not required to conduct a perfect investigation of workplace misconduct. It is sufficient that

 Blues City had an honest belief in its reasons for terminating the Plaintiff. An honest belief is one

 where the employer reasonably relied on the particularized facts that were before it at the time the

 decision was made.



        Authority: Todd v. RBS Citizens, N.A., 483 Fed. Appx. 76, 83 (6th Cir. 2012); Seeger v.

 Cincinnati Bell Telephone Co, LLC, 681 F.3d 274, 285-86 (6th Cir. 2012); Majewski v. Automatic

 Data Processing, Inc., 274 F.3d 1106, 1117 (6th Cir. 2001).




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                                              PRETEXT

        In the third and final step of the analysis, the burden of proof remains, as always with the

 Plaintiff. In the third step, you must determine whether Blues City’s proffered non-discriminatory

 reason was the real reason that the Plaintiff was suspended or terminated, or whether unlawful

 discrimination was a motivating factor in the decision. At this stage, you must determine whether

 you believe Blues City’s asserted reason or if you think the reason is a cover-up for discrimination

 (i.e. whether the reason is “pretextual”). It is the Plaintiff’s ultimate burden at this stage to prove,

 by a preponderance of the evidence, that she was the victim of unlawful discrimination.

        To show that Blues City’s reason is pretextual, Plaintiff must do more than demonstrate

 that Blues City made a mistake or that the reason was not good enough to support its decision.

 Therefore, even if you decide that Blues City’s conclusion regarding whether she lied was

 mistaken or you disagree with the sufficiency of Blues City’s investigations, this is not enough for

 you to conclude that the reason is a pretext for intentional discrimination.

        It is important to remember that the ultimate burden of proof always remains with the

 plaintiff to prove, by a preponderance of the evidence, that she was the victim of unlawful

 discrimination. Should you disbelieve Blues City’s stated reasons for suspending or terminating

 Plaintiff (in other words, find that the reasons are pretextual), such a conclusion does not compel

 you to enter a judgment for the Plaintiff. The ultimate question in this case is whether Blues City

 intentionally discriminated against the Plaintiff because of her sex when suspending her or

 terminating her employment. If there is proof that Blues City’s stated reason for suspension or

 termination is unpersuasive, or even contrived, this proof does not necessarily establish that the

 Plaintiff was intentionally discriminated against. In other words, it is not enough to disbelieve the




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 employer; you must believe that Plaintiff’s explanation - that her suspension or termination was

 motivated by illegal discrimination - is true.



        Authority: See Mitchell v. Toledo Hospital, 964 F.2d 577, 582 (6th Cir. 1992); Texas Dept.

 of Community Affairs v. Burdine, 450 U.S. 248, 256 (1994); Reeves v. Sanderson Plumbing Prod.

 Inc., 530 U.S. 133, 147 (2000); Kurincic v. Stein, Inc., 30 Fed.Appx. 420,425 (6th Cir. 2002);

 Anthony v. BTR Auto. Sealing Sys., Inc., 339 F.3d 506, 514 (6th Cir. 2003); White v. Baxter

 Healthcare Corp., 533 F.3d 381 (6th cir. 2008); Wilson v. Rubin, 104 S.W.3d 39,49 (Tenn. Ct.

 App. 2002).




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          TITLE VII DISCRIMINATION – DEFENDANT’S BURDEN OF PROOF

        Blues City does not have to persuade you of its reasoning in its employment decisions.

 Once the Defendant has stated a legitimate reason for its decision, the burden is on the Plaintiff to

 demonstrate that the Defendant’s reason is false and used to disguise discrimination against the

 Plaintiff. If the Plaintiff’s evidence does not show by a preponderance of evidence that the

 Defendant’s reason is a pretext for discrimination, then you must find for the Defendant.



        Authority: St. Mary’s Honor Center v. Hicks, 113 S. Ct. 2742, 2752 (1993); Texas Dep’t

 of Community Affairs v. Burdine, 450 U.S. 248, 252 (1981); EEOC v. Clay Printing Co., 955 F.2d

 936, 941 (4th Cir. 1992); McNairn v. Sullivan, 929 F.2d 974, 977 (4th Cir. 1991).




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                            PLAINTIFF’S SUBJECTIVE BELIEFS

        The Plaintiff’s subjective belief, hypothesis, speculation, or conjecture that she was the

 victim of sex discrimination is not sufficient to carry her ultimate burden of proving that Blues

 City unlawfully discriminated against her.



        Authority: Chappell v. GTE Products Corp., 803 F.2d 261,267 (6th Cir. 1986), cert

 denied, 480 U.S. 919 (1987); McDonald v. Union Camp Corp., 898 F.2d 1155, 1160, 1162 (6th

 Cir. 1990).




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                                 STATEMENTS OF COUNSEL

        You must not consider as evidence any statements of counsel made during the trial. If,

 however, counsel for the parties have stipulated to any fact, or any fact that has been admitted by

 counsel, you will regard that fact as being conclusively established.

        As to any questions to which an objection was sustained, you must not speculate as to what

 the answer might have been or as to the reason for the objection, and you must assume that the

 answer would be of no value to you in your deliberations.

        You must not consider for any purpose any offer of evidence that was rejected, or any

 evidence that was stricken out by the Court. Such matter is to be treated as though you had never

 known it.

        You must never speculate to be true any insinuation suggested by a question asked a

 witness. A question is not evidence. It may be considered only as it supplies meaning to the answer.



        Authority: Chief Judge Jon Phipps McCalla’s Sample Jury Instructions.




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                 ALL AVAILABLE EVIDENCE NEED NOT BE PRODUCED

        The law does not require any party to call as witnesses all persons who may have been

 present at any time or place involved in the case, or who may appear to have some knowledge of

 the matters in issue at this trial. Nor does the law require any party to produce as exhibits all papers

 and things mentioned in the evidence in the case.



        Authority: Devitt, Blackmar & Wolff, FEDERAL JURY PRACTICE AND

 INSTRUCTIONS, CIVIL (Fourth Ed., West Publishing Co., 1987) § 73.11.




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                                          DAMAGES

        In this case, if you find for Blues City, you will not be concerned with the question of

 damages. But if you find in favor of the Plaintiff, you will of course be concerned with the

 questions of damages. It is my duty to instruct you as to the proper measure of damages to be

 applied in that circumstance.



        Authority: Judge Bernice B. Donald, Model Jury Instructions – Civil




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                                      PROXIMATE CAUSE

        In order to recover damages for any injury, the Plaintiff must prove that Blues City’s acts

 were a proximate cause of the harm sustained by Plaintiff. Proximate cause means that there must

 be a sufficient causal connection between the acts or omissions of Blues City and any injury

 sustained by Plaintiff. An act or omission is a proximate cause if it was a motivating factor in

 bringing about or actually causing injury, that is, if the injury or damage was a reasonably

 foreseeable consequence of Blues City’s act or omission. If an injury was a direct result or a

 reasonably probable consequence of Blues City’s acts or omissions, it was proximately caused by

 such act or omission. In other words, if Blues City’s act or omission had such an effect in producing

 the injury that reasonable persons would regard it as being a cause of the injury, then the act or

 omission is a proximate cause.

        Authority: Judge McCalla, Sample Jury Instructions, White v. The Burlington Northern &

 Santa Fe Ry. Co., Case No. 2:99cv02733 (as modified).




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                                     BASIS FOR AWARD

        Any award you make should be fair in light of the evidence presented at trial.

        In determining the amount of damages that you may decide to award, you should be guided

 by dispassionate common sense. You must use sound discretion in fixing an award of damages,

 drawing reasonable inferences from the facts in evidence. You may not award damages based on

 sympathy, bias, speculation, or guess work. On the other hand, the law does not require that

 Plaintiff prove the amount of her losses with mathematical precision, but only with as much

 definiteness and accuracy as circumstances permit.

        In addition, the amount of damages claimed in the argument of either counsel must not be

 considered by you as evidence of reasonable compensation.



        Authority: Judge McCalla, Sample Jury Instructions, White v. The Burlington Northern &

 Santa Fe Ry. Co., Case No. 2:99cv02733 (as modified).




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                                           BACK PAY

        If you find that Blues City violated Title VII, then you must award the Plaintiff the actual

 damages that she has sustained as a result of the discriminatory actions of Blues City. The

 damages you may award are:

        Back pay and the present value of any lost employment benefits. Back pay is the sum of:

 1) Plaintiff’s wages during the three day suspension; and/or 2) wages Plaintiff would have earned

 in the position from the date of her termination through the date of her subsequent employment.

        Remember, throughout your deliberations, you must not engage in any speculation, guess,

 or conjecture and you must not award damages under this instruction by way of punishment or

 through sympathy.




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                                               MITIGATION

         Plaintiff must make every reasonable effort to minimize or reduce her damages for loss of

 compensation by seeking employment. This is called mitigation of damages.

         If you determine that Plaintiff is entitled to damages, you must reduce these damages by

 1) what Plaintiff earned or 2) what Plaintiff could have earned by reasonable effort from the date

 of her termination until the date of trial.



         Authority: Judge Bernice B. Donald, Model Jury Instructions – Civil (modified).




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                      COMPENSATORY DAMAGES UNDER TITLE VII

         If you find that Blues City is liable for sex discrimination, you may award Plaintiff

 reasonable compensation for the following: future money losses, emotional pain, suffering,

 inconvenience, mental anguish, and loss of enjoyment of life.

         In arriving at the amount of your verdict, you should consider Plaintiff’s condition of health

 before and after the occurrence in question, and the nature, extent, and duration of the alleged

 injuries.

         There is no mathematical formula for computing reasonable compensation for physical

 pain and suffering, emotional pain and suffering, loss of capacity for the enjoyment of life, nor is

 the opinion of any witness required as to the amount of such compensation.

         In making an award for such damages, you must use your best judgment and establish an

 amount of damages that is fair and reasonable in light of the evidence before you.



         Authority: 42 U.S.C. § 1981a(b)(3); Judge Bernice B. Donald, Model Jury Instructions -

 Civil (modified).




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                                            SYMPATHY

         The Court cautions you to guard against appeals to the sympathy of the jury when assessing

 this case.

         The Court instructs you that any perceived lack of fairness toward the Plaintiff does not

 equal discrimination. If you find that Plaintiff has proven her claim by a preponderance of the

 evidence, you are instructed to make your decision as to the appropriate amount of damages, if

 any, based upon the evidence presented and not on the basis of any sympathy you may feel for

 Plaintiff. If you find that Blues City engaged in wrongful, illegal conduct, you should assess as

 damages the amount you find justified by the preponderance of the evidence, no more and no less.

 If, on the other hand, you find that Blues City is not liable for the conduct complained of, then you

 should not assess damages against it.



         Authority: ABA Section Of Litigation Pattern Jury Instructions 1.12[1](2).




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                                      NOMINAL DAMAGES

        If you find that Plaintiff is entitled to a verdict on liability in accordance with these

 instructions, but do not find that Plaintiff has sustained substantial damages, then you may return

 a verdict for Plaintiff in a nominal sum, such as one dollar.



        Authority: 3C Kevin F. O’Malley, Jay E. Grenig & Hon. William C. Lee, Federal Jury

 Practice and Instructions – Civil § 171.93 (5th ed. 2000).




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 DATED this 9th day of August, 2022.

                                                   Respectfully submitted,

                                                  s/Louis P. Britt III, Esq.
                                                  Louis P. Britt III (TN No. 5613)
                                                  Mollie K. Wildmann (TN Bar # 037012)
                                                  FORD HARRISON LLP
                                                  1715 Aaron Brenner Drive, Suite 200
                                                  Memphis, Tennessee 38120
                                                  Telephone: (901) 291-1500
                                                  Facsimile: (901) 291-1501
                                                  lbritt@fordharrison.com
                                                  mwildmann@fordharrison.com

                                                  ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of August, 2022, I filed the foregoing with the Clerk of

 the Court upon the following attorney of record via the Court’s CM/ECF system:

                               Ralph T. Gibson (#14861)
                               Gibson Perryman Law Firm
                               22 N. Front Street, Ste. 650
                               Memphis, Tennessee 38103
                               Telephone: (901) 843-2466
                               ralph@gibsonperryman.com

                               ATTORNEY FOR PLAINITFF




                                                   s/Louis P. Britt III, Esq.




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